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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                           )
                                                      )
            Plaintiff,                                )
                                                      )
     v.                                               ) CAUSE NO. 1:17-cr-00183-TWP-TAB
                                                      )
  BUSTER HERNANDEZ,                                   )
  (a.k.a. Brian Kil, Brianna Killian, Brian Mil, Greg )
  Martain, Purge of Maine, uygt9@hushmail.com,        )
  jare9302@hushmail.com, Dtvx1@hushmail.com, )
  Leaked_hacks1, Closed Door, Closed Color, Clutter )
  Removed, Color Rain, Plot Draw, and Invil Cable, )
                                                      )
          Defendant.                                  )

                 AGREED MOTION TO CONTINUE SENTENCING HEARING

         The United States of America, with the agreement of the defendant, Buster Hernandez,

  through his counsel, moves the Court pursuant to Local Rule 7-1 for a continuance of the

  sentencing hearing in this case. In support of this request, the government proffers the following:

         1.      On April 9, 2019, the defendant was charged by Superseding Indictment with

  Production of Child Pornography, Coercion and Enticement of a Minor, Distributing and

  Receiving Child Pornography, Threat to Use Explosive Device, Threats and Extortion, Threats to

  Kill, Kidnap, and Injure, Witness Tampering, Obstruction of Justice, and Retaliation Against a

  Witness or Victim. [DKT 44].

         2.      On February 7, 2020, the defendant filed a petition to plead guilty to the above-

  referenced charges. [DKT 132].

         3.      On April 13, 2020, this Court entered an order “in response to the recent outbreak

  of Coronavirus Disease 2019 (COVID-19) in the United States of America, and specifically within
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  the Southern District of Indiana.” See generally In re: Court Operations Under the Exigent

  Circumstances Created by Covid-19 and Related Coronavirus, General Order (S.D. Ind. May 12,

  2020). The Court’s General Order stated that “Current Court operations present substantial health

  risks to the public.” Id. at 1. The Order likewise found that “[s]uch risks may be significantly

  mitigated by temporarily modifying Court operations” and that “[g]ood cause exists to implement

  temporary changes to Court operations.” Id.

         4.      In light of the public health risks posed by certain in-person court proceedings and

  in line with the Court’s April 13 General Order, a continuance of the sentencing hearing is

  appropriate in this case. Continuing a sentencing hearing is within this Court’s discretion. See

  United States v. Rinaldi, 461 F.3d 922, 928 (7th Cir. 2006); Zambrella v. United States, 327 F.3d

  634, 638 (7th Cir. 2003). See Acha v. United States, 910 F.2d 28, 32 (1st Cir. 1990).

         5.      Particularly, this matter concerns sentencing Mr. Hernandez following his

  conviction of 40 counts of conviction involving child exploitation and other serious offenses. As

  set forth in the Superseding Indictment, and included in the factual basis establishing Mr.

  Hernandez’s guilty plea filed on February 7, 2020, the offense involves numerous victims, many

  of whom (approximately 15 or more) wish to be heard by the Court at sentencing pursuant to

  Crime Victims’ Rights Act. Subsequent to his guilty plea, both counsel and Mr. Hernandez have

  had ongoing discussions about the evidence in the case and its potential impact on arguments

  concerning mitigating or aggravating circumstances.

         6.      Because a continuance in this case not only is in the public interest but also will not

  prejudice the defendant, the Court should continue the sentencing hearing until after the public

  health risk in this district has passed. See Rinaldi, 461 F.3d at 928-29.
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         7.      Under the circumstances the Court described in its General Order, any delay in

  sentencing will not run afoul of due process concerns. Cf. Betterman v. Montana, 136 S. Ct. 1609,

  1617 (2016) (describing due process as a backstop against undue and “exorbitant” delay in

  sentencing); United States v. Yupa Yupa, --- F. App’x ---, 2019 WL 6492503, at *2 (7th Cir. Dec.

  3, 2019) (applying Betterman to deny due process claim relating to sentencing delay). Likewise,

  given the necessity for the continuance in this case, the continuance will not run afoul of Federal

  Rule of Criminal Procedure 32(b)’s dictate that a “court must impose sentence without unnecessary

  delay.”] Finally, a continuance serves the ends of justice and will not violate the Speedy Trial Act,

  18 U.S.C. § 3161 et seq. To the extent a speedy trial issue might arise, the circumstances described

  in the Court’s General Order serve the ends of justice and are a compelling basis for the requested

  continuance. See 18 U.S.C. § 3161(h)(7).

         8.      Mr. Hernandez and his counsel join in this motion and waive any objection to the

  continuance.

         For the reasons above, the parties respectfully request an order from the Court continuing

  the plea and sentencing hearing in this case in the interest of justice and for the reasons outlined in

  the Court’s General Order relating to COVID-19 and the Coronavirus.
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                                     Respectfully submitted,

                                     JOSH J. MINKLER
                                     United States Attorney

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                                    CERTIFICATE OF SERVICE

         I hereby certify that on May 28, 2020, a copy of the foregoing Agreed Motion to

  Continue was filed electronically. Notice of this filing will be sent to the following parties by

  operation of the Court's electronic filing system. Parties may access this filing through the

  Court's system.


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                                                By:     s/Tiffany J. Preston
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